Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Creekside Operating LLC

2.   All other names debtor
     used in the last 8 years
                                   Creekside Printing
     Include any assumed           Plerus
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1175 Davis Road
                                  Elgin, IL 60123
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kane                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
Debtor    Creekside Operating LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3231

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
Debtor    Creekside Operating LLC                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
Debtor   Creekside Operating LLC                                                    Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
Debtor    Creekside Operating LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 28, 2023
                                                  MM / DD / YYYY


                             X   /s/ Matthew M. Sandretto                                                 Matthew M. Sandretto
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   For Byers Holding LLC, Manager




18. Signature of attorney    X   /s/ William S. Hackney                                                    Date June 28, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William S. Hackney
                                 Printed name

                                 Bryan Cave Leighton Paisner LLP
                                 Firm name

                                 161 North Clark Street
                                 Suite 4300
                                 Chicago, IL 60601-3315
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (312) 602-5000                Email address      william.hackney@bclplaw.com

                                 06256042 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
Debtor     Creekside Operating LLC                                                          Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                   Chapter      11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Byers Holding LLC                                                       Relationship to you               Parent
District   Northern District of Illinois              When                         Case number, if known
Debtor     Byers Operating LLC                                                     Relationship to you               Affiliate
District   Northern District of Illinois              When                         Case number, if known
Debtor     Elections Operating LLC                                                 Relationship to you               Affiliate
District   Northern District of Illinois              When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 6
Fill in this information to identify the case:

Debtor name         Creekside Operating LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 28, 2023                   X /s/ Matthew M. Sandretto
                                                           Signature of individual signing on behalf of debtor

                                                            Matthew M. Sandretto
                                                            Printed name

                                                            For Byers Holding LLC, Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
 Fill in this information to identify the case:
 Debtor name Creekside Operating LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                       Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 BCC Software, LLC         Accounts                  Trade Debt                                                                                                    $4,532.00
 Attn Accounts             Receivable
 Receivable
 P.O. Box 1174             finance@bccsoftw
 Buffalo, NY 14240         are.com
                           (585) 272-9130
 BlueCrest                 Accounts                  Trade Debt                                                                                                  $20,093.89
 Attn Accounts             Receivable
 Receivable
 P.O. Box 74007412         Collections.AR@bl
 Chicago, IL               uecrestinc.com
 60674-7412                (844) 622-2583
 City Wide Facility        Kregg Barney              Trade Debt                                                                                                  $19,345.26
 Sol of Chicagoland
 Attn Kregg Barney         kbarney@gocitywi
 700 Cooper Court          de.com
 Suite C                   (847) 505-0071
 Schaumburg, IL
 60173
 Comcast Business                                    Trade Debt                                                                                                    $3,335.40
 Internet                  reply@notice.comc
 Attn Accounts             astbusiness.com
 Receivable                (800) 391-3000
 P.O. Box 70219
 Philadelphia, PA
 19176-0219
 ComEd                     E. Glenn Rippie           Utility Services                                                                                              $3,443.62
 440 S. LaSalle Street
 Chicago, IL 60605         glenn.rippie@exelo
                           ncorp.com
                           (800) 483-3220
 Component                 Lauren McMillan     Commercial Lease Subject to                                                                                       $32,275.36
 Management Group                              Agreement        Setoff
 LLC                       lmcMillan@cpielgin
 Attn Lauren               .com
 McMillan                  (847) 695-9200 Ext.
 700 Tollgate Road         143
 Elgin, IL 60123

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
 Debtor    Creekside Operating LLC                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Computing                 Accounts                  Trade Debt                                                                                                    $5,150.17
 Technology                Receivable
 Solutions, LLC
 Attn Accounts             accounting@online
 Receivable                cts.com
 2033 N. Milwaukee         (888) 728-7669
 Avenue
 Suite 351
 Deerfield, IL 60015
 Eastman Kodak             Jenna Meyer               Trade Debt                                                                                                  $13,798.76
 Company
 Attn Jenna Meyer          jenna.meyer@koda
 P.O. Box 640350           k.com
 Pittsburgh, PA            (604) 451-2700
 15264-0350
 Federal Envelope          Eric Caravello            Trade Debt                                                                                                    $3,360.00
 Company
 Attn Eric Caravello       ECaravello@federa
 608 Country Club          lenvelope.com
 Drive                     (630) 595-2000
 Bensenville, IL
 60106
 Heidelberg USA, Inc.      Timicia Boyce             Trade Debt                                                                                                  $18,183.39
 Attn Timicia Boyce
 P.O. Box 5160             timicia.boyce@hei
 Carol Stream, IL          delberg.com
 60197                      (847) 437-7388
 Jim's Vault, Inc.         Nancy Askwith             Trade Debt                                                                                                    $5,627.10
 Attn Nancy Askwith
 5308 Riverview            Fax: (630) 852-6270
 Drive                     (630) 852-6263
 Lisle, IL 60532
 Liberty Capital           Keith Davis               Trade Debt                                                                                                    $8,474.40
 Group, Inc.
 Attn Keith Davis          kdavis@contractca
 P.O. Box 24245            re.net
 Seattle, WA 98124         (973) 492-5300
 Lindenmeyr Munroe         Mark Schley       Trade Debt                                                                                                          $39,319.94
 P.O. Box 99922
 Chicago, IL               mschley@lindenm
 60696-7722                eyr.com
                           (630) 250-7500
 Printware, LLC            Customer Service          Trade Debt                                                                                                    $2,235.00
 Attn Customer
 Service                   sales@printwarellc
 2935 Waters Road          .com
 Suite 160                 (651) 456-1400
 Saint Paul, MN
 55121




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
 Debtor    Creekside Operating LLC                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Robert Half               Accounts Payable          Trade Debt                                                                                                  $21,000.00
 International, Inc.
 Attn Accounts             Fax: (847) 719-4015
 Receivable                (847) 562-5510
 12400 Collections
 Center Drive
 Chicago, IL 60693
 Screen GP Americas        Mike Olson                Trade Debt                                                                                                  $24,766.60
 LLC
 Attn Mike Olson           Mike.Olson@scree
 P.O. Box 933361           namericas.com
 Cleveland, OH 44193       (847) 870-7400
                           Ext.2221
 SD&S Properties           Steven Mokhtarian         Commercial Lease Subject to                                                                                   $5,113.74
 Inc.                                                Agreement        Setoff
 Attn Steven               david@sdsprop.co
 Mokhtarian                m
 P.O. Box 221              (847) 438-0100
 Mount Prospect, IL
 60056-0221
 Service Envelope                                    Trade Debt                                                                                                    $4,364.30
 Corporation               info@serviceenvel
 Attn: Accounts            ope.com
 Receivable                (847) 559-0004
 1925 Holste
 Northbrook, IL
 60062
 TPS Group                 Eran Orgad                Trade Debt                                                                                                  $14,227.50
 Attn: Eran Orgad
 2500 Wisconsin            accounts@tpsginc.
 Avenue                    com
 Downers Grove, IL         (773) 680-5342
 60515
 Wireline, Inc.            Brad Carr                 Trade Debt                                                                                                    $3,536.35
 Attn Brad Carr
 1455 Payne Road           brad@wirelineinc.c
 Schaumburg, IL            om
 60173                     (847) 398-3393




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
                                                      United States Bankruptcy Court
                                                              Northern District of Illinois
 In re    Creekside Operating LLC                                                                                 Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Byers Holding LLC                                                                 100%                                       Member
1175 Davis Road
Elgin, IL 60123


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the For Byers Holding LLC, Manager of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



Date June 28, 2023                                                       Signature /s/ Matthew M. Sandretto
                                                                                        Matthew M. Sandretto

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
                                       United States Bankruptcy Court
                                            Northern District of Illinois
In re   Creekside Operating LLC                                                 Case No.
                                                         Debtor(s)              Chapter    11




                                  VERIFICATION OF CREDITOR MATRIX

                                                               Number of Creditors:                             59




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date:   June 28, 2023                         /s/ Matthew M. Sandretto
                                              Matthew M. Sandretto/For Byers Holding LLC, Manager
                                              Signer/Title
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    American Backflow & Fire Prevention, Inc
    111 Kerry Lane
    Wauconda, IL 60084


    BCC Software, LLC
    Attn Accounts Receivable
    P.O. Box 1174
    Buffalo, NY 14240


    BlueCrest
    Attn Accounts Receivable
    P.O. Box 74007412
    Chicago, IL 60674-7412


    Byers Printing Company
    3500 Constitution Drive
    Springfield, IL 62711


    Centrust Bank
    385 Waukegan Road
    Northbrook, IL 60062


    CIT (Direct Capital EDI)
    155 Commerce Way
    Portsmouth, NH 03801


    City of Elgin
    150 Dexter Court
    Elgin, IL 60120


    City Wide Facility Sol of Chicagoland
    Attn Kregg Barney
    700 Cooper Court
    Suite C
    Schaumburg, IL 60173


    Comcast Business Internet
    Attn Accounts Receivable
    P.O. Box 70219
    Philadelphia, PA 19176-0219


    Comcast Business Voice Edge
    P.O. Box 37601
    Philadelphia, PA 19101-0601
ComEd
440 S. LaSalle Street
Chicago, IL 60605


ComEd
c/o Exelon Corp.
Attn E. Glenn Rippie
10 S. Dearborn Street 54th Floor
Chicago, IL 60680-5398


Component Management Group LLC
Attn Lauren McMillan
700 Tollgate Road
Elgin, IL 60123


Computing Technology Solutions, LLC
Attn Accounts Receivable
2033 N. Milwaukee Avenue
Suite 351
Deerfield, IL 60015


CorTech, LLC
710 Morgan Falls Road
Atlanta, GA 30350


Coyote Logistics, LLC
960 North Point Parkway
Suite 150
Alpharetta, GA 30005


Crystal Clean
13621 Collections Center Drive
Chicago, IL 60693-0136


Eastman Kodak Company
Attn Jenna Meyer
P.O. Box 640350
Pittsburgh, PA 15264-0350


EMCO Chemical Distributors, Inc.
97743 Eagle Way
Chicago, IL 60678-1977
Federal Envelope Company
Attn Eric Caravello
608 Country Club Drive
Bensenville, IL 60106


Federal Express
P.O. Box 94515
Palatine, IL 60094-4515


FP Mailing Solutions
P.O. Box 157
Bedford Park, IL 60499-0157


FUJIFILM North America Corp.
Graphic Systems Division
Dept. CH 10764
Palatine, IL 60055-0764


Groot, Inc.
P.O. Box 535233
Pittsburgh, PA 15253-5233


Heidelberg USA, Inc.
Attn Timicia Boyce
P.O. Box 5160
Carol Stream, IL 60197


Image One Facility Solutions
3601 Algonquin Road
Rolling Meadows, IL 60008


Internal Revenue Service
Centralized Insolvency Operations
Post Box 7346
Philadelphia, PA 19101-7346


Jim's Vault, Inc.
Attn Nancy Askwith
5308 Riverview Drive
Lisle, IL 60532


Jorson & Carlson, Inc.
P.O. Box 796
Elk Grove Village, IL 60007
Kinyo Virginia Inc.
P.O. Box 791530
Baltimore, MD 21279


Liberty Capital Group, Inc.
Attn Keith Davis
P.O. Box 24245
Seattle, WA 98124


Lindenmeyr Munroe
Attn Mark Schley
P.O. Box 99922
Chicago, IL 60696-7722


Logsdon Office Supply
111 South Fairbank Street
Addison, IL 60101


Nicor Gas
P.O. Box 5407
Carol Stream, IL 60197


Office of the US Trustee
219 S. Dearborn Street
Room 873
Chicago, IL 60604


Pitney Bowes, Inc.
P.O. Box 981039
Boston, MA 02298-1039


Pratt Direct
2420 Crabtree Lane
Northbrook, IL 60062


Precision Ink Corporation
151 Stanley Street
Elk Grove Village, IL 60007


Printware, LLC
Attn Customer Service
2935 Waters Road
Suite 160
Saint Paul, MN 55121
Proshred Security
7700 Graphics Drive
Tinley Park, IL 60477


Quadient Leasing USA
P.O. Box 123682
Dept. 3682
Dallas, TX 75312-3682


Ricoh USA, Inc.
P.O. Box 802815
Chicago, IL 60680-2815


Robert Half International, Inc.
Attn Accounts Receivable
12400 Collections Center Drive
Chicago, IL 60693


Roscoe
P.O. Box 4804
Chicago, IL 60680-4804


Screen GP Americas LLC
Attn Mike Olson
P.O. Box 933361
Cleveland, OH 44193


SD&S Properties Inc.
Attn Steven Mokhtarian
P.O. Box 221
Mount Prospect, IL 60056-0221


Service Envelope Corporation
Attn: Accounts Receivable
1925 Holste
Northbrook, IL 60062


Shorr Packaging Corp.
P.O. Box 773252
Chicago, IL 60677-3252


Small Business Administration
332 S. Michigan Avenue
Suite 600
Chicago, IL 60604
Specialty Finishing Group
1401 Kirk Street
Elk Grove Village, IL 60007


Steve's Landscaping, Inc.
8N458 S. McLean Boulevard
South Elgin, IL 60177


Think Ink Inc.
8101 Cessna Avenue
Gaithersburg, MD 20879


Toshiba Financial Services
P.O. Box 790448
Saint Louis, MO 63179-0448


TPS Group
Attn: Eran Orgad
2500 Wisconsin Avenue
Downers Grove, IL 60515


U.S. Postal Service (CMRS-FP)
P.O. Box 0505
Carol Stream, IL 60132-0505


Uline
P.O. Box 88741
Chicago, IL 60680-1741


United Business Mail for EAB
801 W Bryn Mawr Avenue
Itasca, IL 60143


UPS
P.O. Box 809488
Chicago, IL 60680-9488


Wireline, Inc.
Attn Brad Carr
1455 Payne Road
Schaumburg, IL 60173
                                         United States Bankruptcy Court
                                               Northern District of Illinois
 In re   Creekside Operating LLC                                                    Case No.
                                                            Debtor(s)               Chapter     11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Creekside Operating LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Byers Holding LLC
1175 Davis Road
Elgin, IL 60123




  None [Check if applicable]




June 28, 2023                                  /s/ William S. Hackney
Date                                           William S. Hackney
                                               Signature of Attorney or Litigant
                                               Counsel for Creekside Operating LLC
                                               Bryan Cave Leighton Paisner LLP
                                               161 North Clark Street
                                               Suite 4300
                                               Chicago, IL 60601-3315
                                               (312) 602-5000 Fax:(312) 602-5050
                                               william.hackney@bclplaw.com
Creekside Operating LLC
Balance Sheet, 1 June 2023



                                                    Commercial Print
                                                        & Mail
ASSETS
 Current Assets
  Bank Accounts
    100000 Creekside Operating LLC D/B/A Plerus              6,632.88
    110001 Client Postage Funds (7324)                     173,332.95
    110002 Elections Operating LLC (0491)
  Total Bank Accounts                               $      179,965.83
  Accounts Receivable
    120000 Accounts Receivable (A/R)                       183,953.69
  Total Accounts Receivable                         $      183,953.69
  Other Current Assets
    112000 Undeposited Funds
    130000 Inventory                                             0.00
    170500 Due from Byers Printing Company                  38,285.74
    Due To / From Plerus
 Total Current Assets                               $      402,205.26
 Fixed Assets
  150500 Buildings & Building Improvements
  151500 Printing Machines                                 142,351.00
  152000 Delivery Truck                                     16,200.00
  160000 Fixed Assets Accumulated Depreciation             -158,551.00
 Total Fixed Assets                                  $           0.00
 Other Assets
  172000 Intangibles
    172120 Business Name                                     1,000.00
    172130 Customer List                                     1,000.00
    172140 Goodwill                                        654,925.00
    172150 Non-Compete                                         500.00
    172160 Intangibles Accumulated Amortization              -1,787.61
  Total 172000 Intangibles                          $      655,637.39
  172100 Deferred Financing Costs                           13,286.00
    172200 Deferred Financing Costs Accum. Amort.            -3,821.12
  Total 172100 Deferred Financing Costs              $       9,464.88
  172201 Due from Creekside Re LLC
   172300 Security Deposit                                                        4,900.00
 Total Other Assets                                                        $    670,002.27
TOTAL ASSETS                                                               $   1,072,207.53
LIABILITIES AND EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       210000 Accounts Payable (A/P)                                            337,518.20
     Total Accounts Payable                                                $    337,518.20
     Other Current Liabilities
       210200 Illinois Department of Revenue Payable                                399.96
       210300 Prepaid Postage Liability                                          11,343.11
         210321 (LCC) Littleton Coin Company - Prepaid Postage Liability        191,546.99
         210323 (Credo) Marconi, LLC - Prepaid Postage                           13,440.89
       Total 210300 Prepaid Postage Liability                              $    216,330.99
       240101 Insurance Payable - AFLAC                                             106.74
       Michigan Department of Treasury Payable                                       11.34
     Total Other Current Liabilities                                       $        118.08
   Total Current Liabilities                                               $    553,967.27
   Long-Term Liabilities
     250000 Due to Byers Holding LLC                                            523,781.05
     250024 Due to SBA EIDL                                                     500,000.00
     250100 Due to CenTrust Bank
       250150 SBA 7a Loan                                                       440,529.16
     Total 250100 Due to CenTrust Bank                                     $    440,529.16
     250202 Due to WebBank/CANCap2022                                             1,674.06
   Total Long-Term Liabilities                                             $    942,203.22
 Total Liabilities                                                         $   1,496,170.49




 Total Equity                                                              $   (423,962.96)
TOTAL LIABILITIES AND EQUITY                                               $   1,072,207.53
                               Creekside Operating LLC
                                   Profit and Loss
                                  January 1 - June 1, 2023

                                                                 Total
Income
 410000 Sales of Product Income                                  1,089,057.49
 420000 Shipping and Delivery Income                                 2,709.29
 430000 Billable Expense Income                                   178,613.42
Total Income                                                 $   1,270,380.20
Cost of Goods Sold
 510000 Supplies & Materials - COGS                                  1,442.92
 510001 Purchasing - COGS                                         152,534.87
 511000 Shipping, Freight & Delivery - COGS                          2,804.45
 512000 Cost of labor - COGS                                      308,071.60
   512010 Cost of labor - COGS - Salary                              3,437.50
   512011 Cost of labor - COGS - Mechanic                          25,536.10
   512012 Cost of labor - COGS - Contractor                          8,836.94
   512013 Cost of Labor - COGS - Temporary Help                      1,501.44
   512100 Outside Services                                         33,621.06
 Total 512000 Cost of labor - COGS                           $    381,004.64
Total Cost of Goods Sold                                     $    537,786.88
Gross Profit                                                 $    732,593.32
Expenses
 610500 Delivery Truck Expense                                       5,100.67
 611000 Bank Charges & Fees                                              142.85
 613001 Insurance
   613500 Business Insurance                                         6,094.50
   614010 Workers Comp Insurance                                   12,100.19
   713510 Owner's Life Insurance                                          51.24
 Total 613001 Insurance                                      $     18,245.93
 615000 Repairs & Maintenance                                     140,607.50
 615500 Office Supplies                                              5,066.55
 615501 Administrative Software                                      9,688.94
 615502 Production Software                                        22,607.16
 615503 Sales Software (Web-to-Print and Other)                          135.49
 616000 Utilities - IL                                               3,369.47
   616001 Phone and Internet                                         4,941.22
   616002 Electricity                                              15,153.35
   616003 Natural Gas                                                6,354.92
   616004 Water                                                           82.42
   616005 Waste Disposal                                             2,519.20
   616006 Pest Control                                                   628.00
 Total 616000 Utilities - IL                                 $     33,048.58
 617000 Postage and Delivery                                       16,323.60
 617100 Production Tools and Equipment                             13,299.18
 617200 Job Supplies                                                11,680.18
 617500 Rent - IL                                                  105,447.60
 618000 Salesperson Expenses                                         3,845.14
 640001 Payroll Expenses - Management Salaries                      47,041.68
 640032 Payroll Expenses - Salaries                                 56,416.70
 640033 Payroll Expenses - Commissions - Account Executives          5,969.70
 640500 Payroll Expense - Wages                                     15,170.14
 649500 Payroll Expenses - Taxes                                    42,362.39
 650000 Tax Expense                                                      5.36
   653000 Property Taxes                                            19,155.13
 Total 650000 Tax Expense                                     $     19,160.49
 690002 QuickBooks Payments Fees                                      865.13
 700000 Discretionary Expenses
   700002 Advertising & Marketing                                     594.00
   700005 Travel                                                      192.33
   700006 Meals                                                       129.39
   700007 Insurance - Employee Healthcare                           15,337.02
   700008 Payroll Expenses - Retirement Plan Contribution            5,058.48
   700009 Payroll Fees                                               2,329.63
   700010 Janitorial Expense                                         3,663.95
   700012 Payroll Fees (Michigan)                                     423.88
 Total 700000 Discretionary Expenses                          $     27,728.68
 710000 Non-Recurring Expenses
   710002 Legal & Professional Services                             59,127.89
   710003 Other Professional Fees                                      76.69
   710004 Bad Debt Expense                                           4,906.07
 Total 710000 Non-Recurring Expenses                          $     64,110.65
 720000 Non-Capitalized Expenses
   720001 Office Equipment                                           2,077.25
   720002 Equipment Lease Expense                                   78,194.92
   720003 Building Maintenance                                      47,680.80
 Total 720000 Non-Capitalized Expenses                        $    127,952.97
 740000 Interest Expense                                            22,891.55
Total Expenses                                                $    814,909.45
Net Operating Income                                          -$    82,316.13
Net Income                                                    -$    82,316.13
                                                                       Creekside Operating LLC
                                                                       Statement of Cash Flows
                                                                              January 1 - June 1, 2023




OPERATING ACTIVITIES
 Net Income
 Adjustments to reconcile Net Income to Net Cash provided by operations:
   120000 Accounts Receivable (A/R)
   210000 Accounts Payable (A/P)
   210200 Illinois Department of Revenue Payable
   210300 Prepaid Postage Liability
   210306 Prepaid Postage Liability:Lemont Public Library - Prepaid Postage Liability
   210321 Prepaid Postage Liability:(LCC) Littleton Coin Company - Prepaid Postage Liability
   210322 Prepaid Postage Liability:(PMN) Print Media Network - Prepaid Postage Liability
   210323 Prepaid Postage Liability:(Credo) Marconi, LLC - Prepaid Postage
   220000 Illinois Department of Treasury Payable
   220600 Due To/From - Intercompany - ColorArt
   240101 Insurance Payable - AFLAC
   Michigan Department of Treasury Payable
   Out Of Scope Agency Payable - NOTAX
 Total Adjustments to reconcile Net Income to Net Cash provided by operations:
Net cash provided by operating activities
INVESTING ACTIVITIES
 150500 Buildings & Building Improvements
 172300 Security Deposit
Net cash provided by investing activities
FINANCING ACTIVITIES
 250150 Due to CenTrust Bank:SBA 7a Loan
 250202 Due to WebBank/CANCap2022
Net cash provided by financing activities
Net cash increase for period
Cash at beginning of period
Cash at end of period




                                                                        Monday, Jun 19, 2023 03:00:12 PM GMT-7
Commercial
Print & Mail      Elections         Not Specified           TOTAL


     -79,674.71        104,106.71        -229,219.52        -204,787.52
                                                                    0.00
                                          -53,214.39         -53,214.39
                                         159,481.76          159,481.76
        786.25               0.00          -1,004.49            -218.24
     -10,726.03          1,735.68         -13,070.47         -22,060.82
           0.00                                                     0.00
     169,705.17                          199,791.67          369,496.84
        176.70                                                  176.70
       7,460.00                           -12,002.10          -4,542.10
           0.00                                                     0.00
         -25.00                               25.00                 0.00
        320.22                               -320.22                0.00
         11.34               0.00                                11.34
           0.00              0.00              0.00                 0.00
$    167,708.65   $      1,735.68   $    279,686.76    $     449,131.09
$     88,033.94   $ 105,842.39      $     50,467.24    $     244,343.57


                        -1,666.70                             -1,666.70
                        -3,750.00                             -3,750.00
$          0.00   -$     5,416.70   $          0.00    -$      5,416.70


     -27,027.53                                              -27,027.53
     -29,003.54                           -36,837.90         -65,841.44
-$    56,031.07   $          0.00   -$    36,837.90    -$     92,868.97
$     32,002.87   $ 100,425.69      $     13,629.34    $     146,057.90
     350,000.00                          -314,091.31          35,908.69
$    382,002.87   $ 100,425.69      -$   300,461.97    $     181,966.59
